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8                                 UNITED STATES DISTRICT COURT
9                                 EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                    No. 2:13-cr-00160-MCE
12                   Plaintiff,
13         v.                                     FINAL PRETRIAL ORDER
14   ALEXANDER SAKHANSKIY, ET AL.,                TRIAL DATE: August 17, 2015
                                                  TIME: 9:00 a.m.
15                    Defendants.
16

17         A Trial Confirmation Hearing was held on July 9, 2015. Michael Anderson and

18   Nirav Desai appeared as counsel for the United States. Mark Reichel appeared as

19   counsel for the Defendant Alexander Sakhanskiy and Shari Rusk appeared

20   telephonically for Defendant Larisa Sakhanskiy. After hearing, the Court makes the

21   following findings and orders:

22   I.    DATE AND LENGTH OF TRIAL

23         A trial is scheduled for August 17, 2015, at 9:00 a.m., in courtroom 7. The

24   estimated length of trial is ten (10) days. The Court will permit each side up to one (1)

25   hour for closing arguments unless otherwise specifically ordered by the Court. The

26   United States of America will be permitted to reserve time for rebuttal purposes but will

27   be required to monitor any time so reserved.

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1    II.    MOTIONS IN LIMINE
2           Any motions in limine by either party shall be filed by July 27, 2015. Any
3    opposition to those motions in limine shall be filed by August 3, 2015. Any reply shall be
4    filed by August 10, 2015.
5    III.   AGREED STATEMENTS - JOINT STATEMENT OF CASE
6           It is mandatory the parties file a short, jointly-prepared statement concerning the
7    nature of this case that will be read to the jury at the commencement of trial. The joint
8    statement of the case shall include in plain concise language the claims of the United
9    States of America and claims of other parties, if any, and the corresponding Defendant
10   to the claims. The purpose of the joint statement of the case is to inform the jury at the
11   outset what the case is about. The statement must be filed by August 10, 2015.
12   IV.    WITNESSES
13          The parties are ordered to file their respective witness lists on August 10, 2015.
14          Each party may call a witness designated by the other. The parties must
15   expressly reserve the right to call additional witnesses at trial.
16   V.     EXHIBITS - SCHEDULES AND SUMMARIES
17          The parties are ordered to file their respective exhibit lists on August 10, 2015.
18   The parties must expressly reserve the right to offer additional exhibits at trial.
19          The United States of America’s exhibits shall be listed numerically.
20   Defendants’ exhibits shall be listed alphabetically. The parties shall use the
21   standard exhibit stickers provided by the Court Clerk’s Office. After three letters, note
22   the number of letters in parenthesis (i.e., “AAAA(4)”) to reduce confusion during the trial.
23   All multi-page exhibits shall be stapled or otherwise fastened together and each page
24   within the exhibit shall be numbered. All photographs MUST marked individually.
25          Each party may use an exhibit designated by the other. In the event that The
26   United States of America and a Defendant offer the same exhibit during trial, that exhibit
27   shall be referred to by the designation the exhibit is first identified.
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1    The Court cautions the parties to pay attention to this detail so that all concerned,
2    including the jury, will not be confused by one exhibit being identified by both the United
3    States of America and the Defendants.
4    VI.    PROPOSED JURY INSTRUCTIONS, VOIR DIRE, VERDICT FORM
5           A.     Jury Instructions
6           Counsel shall primarily use the Ninth Circuit Model Jury Instructions and any
7    revisions. However, instructions or authority may be submitted for the Court for
8    approval. Attached for counsels’ review are the Court’s standard opening and closing
9    instructions for your use, taken from the Ninth Circuit’s Model Jury Instructions. If
10   counsel has no objections to the Court’s use of these opening and closing instructions,
11   counsel need not submit their own opening and closing instructions.
12          The instructions must be filed by August 10, 2015, and shall be identified as the
13   "Jury Instructions Without Objection."
14          All instructions shall be, to the extent possible, concise, understandable, and free
15   from argument. See Local Rule 163(c). Parties shall also note that any modifications of
16   instructions from statutory authority, case law or from any form of pattern instructions
17   must specifically state the modification by underlining additions and bracketing deletions.
18          B.     Verdict Form
19          The parties are ordered to file their respective proposed verdict form(s) on
20   August 10, 2015.
21          C.     Voir Dire
22          The parties are ordered to file their respective proposed voir dire on
23   August 10, 2015. The Court reserves the right to conduct all examination of prospective
24   jurors. Notwithstanding this reservation, the Court will permit each side up to ten (10)
25   minutes to conduct further voir dire, if desired. The voir dire questions shall be filed with
26   the Court by August 10, 2015.
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1            D.     Submission of Documents to the Court
2            At the time of filing their respective proposed jury instruction(s), verdict form(s)
3    and witness list(s), counsel shall also electronically mail these filings to the Court, in
4    Microsoft Word format. These documents MUST be sent to:
5    mceorders@caed.uscourts.gov.
6    VII.    CHOICE NOT TO FILE DOCUMENTS
7            Should either party choose not to file a trial brief, witness list, exhibit list, proposed
8    voir dire, proposed jury instructions, or proposed verdict forms, that party must notify the
9    Court in writing by August 3, 2015, that it will not be filing such documents.
10   VIII.   AUDIO/VISUAL EQUIPMENT
11           The parties are required to file electronically a joint request to the Courtroom
12   Deputy Clerk, Stephanie Deutsch, by August 3, 2015, if they wish to reserve and arrange
13   for orientation with all parties on the Court's mobile audio/visual equipment for
14   presentation of evidence. There will be one date and time for such orientation.
15

16   DATE: July 27, 2015
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19                                          MORRISON  N C. ENGLLAND, JR, C
                                                                         CHIEF JUDG  GE
                                            UNITED ST TATES DISSTRICT COU  URT
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